180 F.2d 581
    Ollle Otto PRINCE, Appellant,v.UNITED STATES of America, Appellee.
    No. 12773.
    United States Court of Appeals Fifth Circuit.
    March 20, 1950.
    
      Appeal from the United States District Court for the Northern District of Texas; T. Whitfield Davidson, Judge.
      No Appearance entered for Appellant.
      Frank B. Potter, U. S. Atty., Fort Worth, Tex., Clyde G. Hood, Asst. U. S. Atty., Dallas, Tex., for appellee.
      Before HOLMES, McCORD, and BORAH, Circuit Judges.
      PER CURIAM.
    
    
      1
      The judgment appealed from is affirmed.
    
    